          Case 1:07-cr-00243-LJO Document 123 Filed 10/07/09 Page 1 of 2


 1   SALVATORE SCIANDRA, Bar No. 58256
     Law Offices of Salvatore Sciandra
 2   2300 Tulare Street, Suite 230
     Fresno, CA 93721
 3   Telephone: 559.233.1000
     Facsimile: 559.233.6044
 4
 5   Attorney for Defendant, LEM PHIN
 6
 7                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                   EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,                          )        CASE NUMBER: 1:07-CR-00243-AWI
                                                        )
10                            Plaintiff,                )
     v.                                                 )        ORDER AFTER HEARING
11                                                      )
     LEM PHIN,                                          )
12                                                      )
                              Defendant.                )
13                                                      )
14            A hearing on defendants request to determine defendants competency to understand the nature
15   of the Plea Agreement offered by the Government came on regularly before the Honorable Oliver W.
16   Wanger on October 5, 2009 at 9:00 a.m. in Department 3.
17            The Court, after having reviewed the Competency Report of Laura A. Geiger, Psy.D. and the
18   government having concurred, and finding good cause appearing, issued the following Order of the
19   Court:
20            After hearing it appears that defendant is suffering from a mental disease or defect and that
21   he should be committed to a suitable facility for care, treatment, and determination whether he
22   is competent to understand the plea agreement he made and executed and to be sentenced.
23
24            Pursuant to 18 USC 4244 (b) and (d) the defendant is to be admitted to the custody of the
25   attorney general to be transported to a mental institution for treatment pursuant to the law. Criminal
26   proceedings are SUSPENDED pending report and evaluations from the attorney general.
27            All prior Orders of the Court not modified or deleted herein shall remain in full force and affect.
28   IT IS SO ORDERED.
        Case 1:07-cr-00243-LJO Document 123 Filed 10/07/09 Page 2 of 2


 1   Dated: October 7, 2009                 /s/ Oliver W. Wanger
     emm0d6                            UNITED STATES DISTRICT JUDGE
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
